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BENITO ROJAS

Mailing Address:

11012 Ventura Boulevard Unit 261
Studio City, CA 91604

Email: Rojasb.dimmak@gmail.com

Ph. 313 ‘7<!'7~'7 %@

Plaintiff,

VS.
CAPITAL ONE BANK (USA) N.A.,
CAPITAL ONE
THE MOORE LAW GROUP,
HARVEY M. MOORE ESQ # 101128
MATTHEW GARVEY SBN # 306960
KAREL RABA SBN # 293570
AMARA HAYDEN SBN # 304452
KELSEY KRUGER

DEFENDANT(s).

 

 

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DEC - 6 2816

 

 

 

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Benito Rojas, c B:§é€% m @ 0 111 5 -“ A § (§§7\

COMPLAINT FOR:

unlawful DEBT COLLECTION
PRACTICES

unlawful ROSENTHAL FAIR DEBT
COLLECTION PRACTICES

FAIR CREDIT REPORTING ACT

Jury Trial Demanded: Yes

 

 

Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 2 of 55 Page |D #:2

 

 

 

I. COMPLAINT
INTRODUCTION

l. This is an action for damages brought by an individual consumer against
Defendants for violations of the 13 air Debt Collection Practices Act, 15 U.S.C. §
1692, et seq. (FDCPA) and the California Rosenthal Act, Civil Code § 1788.2 et.
seq. (Rosenthal Act) both of Which prohibits debt collectors from engaging in

abusive, deceptive, and unfair practices

2. This is an action for damages brought by an individual consumer against
Defendants for violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et
seq. (FCRA) Wliich prohibits furnishers from reporting false and inaccurate

information

II. JURISDICTION AND VENUE
l. This Court has jurisdiction under: 15 U.S.C. sec. 1692 k (d), 15 U.S.C.
sec. 1681(p)(b), and 28 U.S.C. sec. 1331,1337. Suppleinentaljurisdiction exist for
the state law claims pursuant to 28 U.S.C. § 1367. Venue is proper pursuant to 28
U.S,C. § 1391(1)) Where that the defendant transact business here and the conduct

complained of occurred here.

 

 

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Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 3 of 55 Page |D #:3

III. PARTIES
2. Plaintifi` s name is: Benito Rojas Plaintiff resided at California.
Plaintiff is a consumer Within the meaning of 15 U.S.C. sec. 1692 a (3), 15

U.s.C.§ last a(c).

3. Defendant: CAPITAL GNE _BANK (USA) N.A. is a professional
corporation Within the meaning 15 U.S.C. § 1681 a(b) doing the business of
collecting debts in CALIFORNIA, operating from an address: P.O. BOX 30281

Salt Lal<e City, UTAH 84130.

4. Defendant: CAPITAL GN'E (DOES) is a “debt collector” Within
the meaning of 15 U.S.C. 1692 a(6); a furnisher of information Within the
meaning 15 U.S.C. § 1681 a(b) doing the business of collecting debts in
California, operating from an address: P.O. Box 30285 SALT LAKE CITY,

UTAH 8413().

5. Defendant: THE MOORE LAW GROUP, is a professional
corporation doing the business of coilecting debts in California, operating from
an address at 3710 S. Susan Street, suite 210 Santa Ana, Ca 92704.

P.O. BOX 25145 SANTA ANA, CA 92799.

 

 

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Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 4 of 55 Page |D #:4

6. Defendant: HARVEY 1\/1. MOORE, SBN # 101128 (DOES) is a owner/
Agent Employee through THE MOORE LAW GROUP doing the business of
collecting debts in California, operating from an address at 3710 S. Susan
Street, suite 210 Santa Ana, Ca 92704.

P.O. BOX 25145 SANTA ANA, CA 92799.

7. Defendant: KAREL RABA SBN # 293570 (DOES) is a owner/ agent/
Employee through THE MOORE LAW GROUP doing the business of
collecting debts in Caiifornia, operating from an address at 3710 S. Susan
Street, suite 210 Santa Ana, Ca 92704.

P.O. BOX 25145 SANTA ANA, CA 92799.

8. Defendant: MATTHEW GARV_EY, SBN # 306960 (DOES) is a owner/
agent / Employee through TH,E» MOORE LAW GROUP doing the business of
collecting debts in California, operating from an address at 3710 S. Susan
Street, suite 210 Santa Ana, Ca 92704.

P.O. BGX 25145 SANTA ANA, CA 92799.

9. Defendant: AMARA HAYDEN, SBN # 304452 (DOES) is a owner/
agent / Ernployee through THE MC)ORE LAW GROUP doing the business of
collecting debts in California, operating from an address at 3710 S. Susan

Street, suite 210 Santa Ana, Ca 92704.

 

 

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Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 5 of 55 Page |D #:5

P.O. BOX 25145 SANTA ANA, CA 92799.

10. Defendant: KELSEY KRUEGER, (DOES) is a owner/
agent / Employee through THE MOORE LAW GROUP doing the business of
collecting debts in California, operating from an address at 3710 S. Susan
Street, suite 210 Santa Ana, Ca 92704.

P.O. BGX 25145 SANTA ANA, CA 92799.

1 1, Defendants are engaged in the collection of debts from consumer using
the mail and telephone Defendants regularly engaged as furnishers of
consumer Transunion, Experian_, Equifax credit tile. Defendant regularly

attempt to collect consumer debt alleged to be due to another.

12. Defendants are all entities or individuals who contributed to or
participated in, or authorized the acts or conspired with the name defendant to
commit the acts and do the things complained of which caused the injuries and
damages to plaintiff as set forth below. Each of the parties, named and
tictitious, acted as principal and agent, each of the other, and combined and

concurred each with the other in committing the acts that injured the Plaintift`.

13.The true names and capacities, whether individual, corporate ( including

officers and directors thereof), associates or otherwise of Defendant sued herein

 

 

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Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 6 of 55 Page |D #:6

as DOES 1-5, inclusive, are unknown to plaintiff, who therefore sues these
Defendant(s) by such fictitious names Plaintiff is informed and believes, and all
alleges that each Defendant designated as DOE is involved in or is in some
manner responsible as a principal, beneficiary, agent, co-conspirator, joint
venturer, alter ego, third party beneticiary, or otherwise, for the agreements,
transactions, events and/or acts hereinafter described, and thereby proximately
caused injuries and damages to plaintiff Plaintiff requests that when the true
names and capacities of these DOE Defendants are ascertained, they may be
inserted in all subsequent proceedingsj and that this action may proceed against

them under their true names

14. The purported debt that defendants attempted to collect from Plaintiff

was a “debt” as defined by the FDCPA, 15 U.S.C. § 1692a(5).

15. Plaintiff is a “debtor” as defined by the Rosenthal Act, California Civil

Code 1788.2(h)

16. The purported debt that defendants attempted to collect from Plaintiff
was a “consumer debt” as defined by the Rosenthal Act, California Civil Code
§1788.2®.

17. Experian, Transunion, Equifax is a credit reporting agency within the

meaning ofFCRA 15 U.S.C. § 1681a(f).

 

 

 

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Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 7 of 55 Page |D #:7

18. Consumer credit report is a consumer report within the meaning of the

FCRA 15 u.s.c. § 1631 a (d).

19. FCRA 15 U.S.C. § 1681 b defines the permissible purposes for which a
person may obtain a consumer credit report. Such permissible purposes as
defined by 15 U.S.C. 1681b are generally if the consumer makes applications
for credit, makes application for employment, for under writing of insurance
involving the consumer, or is offered a bonatied offer of credit as a result of the

injury.

20. Plaintiff has never had any business dealing or any accounts with made
applications for credit from, made application for employment with, applied for

insurance from or received a bonatied offer of credit from the defendant

IV. STATEMENT OF FACTS

21. Plaintiff has one inactive credit card account charged off with Capital

One, a nationally recognized credit card provider

22. 517 he one inactive credit card account in question as furnished by
Capital One is as follows: # 517805924026****.

23. Beginning around February, 2007, an imposter, using Plaintiff name and

 

 

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Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 8 of 55 Page |D #:8

his previous address on 3141 Garden Ave Los Angeles, California,

submitted a credit application to Ca_pital One.

24. Capital One granted the imposter’s application and sent the

imposter a credit card # 517805924026**** in Plaintiffs name.

25 . in October, 2015. Capital One discovered the

fraud, closed and charged off the account # 517805924026****.

261 On or about mid September, 2016. Defendant Capital One Banl< (USA)
N.A., filed a operative complaint containing allegations for breach of written
contract, common counts book accounts etc., all containing a prayer for

damages in the amount of $7,260.54. £”‘ "t"‘*i“ TA}

27. The Defendant Capital One Banl< (USA) N.A. through THE MOORE
LAW GROUP sent cause of action specified in a filed complaint against
Plaintiff. The complaint is insufficient as a matter of law. The [DOES] complaint

does not set forth the True facts upon which Plaintiff seeks a summary judgment

The complaint was signed by Al\/lARA HAYDEN Esq. SBN #304452.

28. The Capital One Bank (USA) N.A. v. Benito Rojas case no. 16A15474

(the action) See exhibit;, is a threatening attempt to collect on the account at

issue under any name other than Caprtal One. f tier t‘l ~'"’ tear

 

 

 

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Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 9 of 55 Page |D #:9

29. The Capital One Bank (USA) N.A. through THE MOORE LAW
GROUP has demanded payments of amounts not authorized by any contract or

order of the court, or W/out proper validation

30. On September ll, 2()l6, Plaintiff secured his Transunion, Equifax,

Experian credit report from W‘»vw.an.n.ualcreditreport.com.

 

3 l. rl`he Transunion, Experian, Equifax, general policy and procedure for
investigating disputed information is to contact by mail or telephone the source
of the information Each source is advised for consumer dispute and is
requested to verify the accuracy and/or completeness of the information

reported

32. Plaintit`f disputed With the three credit bureau reporting agency(s)§ v,ti;i:e:""
inaccurate information being reported Plaintiff requested in Writing to the
Defendant Capital One Bank USA N.A. certified mail and requested of
defendant counsel [DGES] to show proof of debt (debt validation request) upon
30 day notice to reply in accordance With FDCPA 15 U.S.C. §1692 g. l5 U.S.C.
l68li, also informing defendant(s) of their violations of the FCRA. (see exhibit
DV l~6) l am not in receipt of any original document Which verifies that l have a
contract \vith Capital One. l am not in receipt of any original document Which

verifies that l have a contract with Capital One Bank (USA) N.A. or [DCES].

 

 

 

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33, l`lie Defendant(s) The l\/loore Law Group, by Way of attorney Matthevv
Garvey, Esq. attached a partial credit card statement (see exhibit CSI -
CSIS). This is not validation nor evidence but merely a partial listing of items
purchased ln accordance to The F ederal Truth and Lending Act a partial credit

card statement is insufficient as a matter of lai-v.

34. l`he FCRA F air Credit Reporting Act specifically states that “litigation”
ls not permissible use of a consumer credit report as it does not involve a
business to consumer transaction
35. Defendant(s) The l\/loore Lavv Group, by vvay of attorney Amara Hayden,
Harvey l\/l. l\/Ioore Esq. threatening and continued pursue in attempt to collect on
the any alleged debt Without proper validation constitute non-compliance and
total disregard of federal law (see exhibit CAOl) and case no. l6A15474 (the
action). The Defendant(s) The Moore Lavv Group, Capital One Bank (USA)
N.A., (Transunion) 5l7805924026**** and Capital One (Experian)
517805924026**** has purged and run up a continuing value on the plaintiff
credit profile With no permissible purpose
36. As a result ofthe acts alleged above, Plaintiff vvork has been severly
affected Plaintiff vvas recently promoted and had to take time off to apply to
court, suffered multiple stressful events and stress related symptoms: headaches,

Worry, trouble sleeping, vveight loss and economic discomfort

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37. Around November 14, 2016 upon new research from the vavv.sec.go\_;.
vvebsite. Plaintiff acquired the Capital One February, 2007 prospectus report to
come in the know of What and vvho are the responsible parties for damages, as to
explain Capital One Banl<; (USA) l\l.A. attempt to collect on the account(s) at
issue under the any name other than Capital One. With respect to Whether the
Capital One Bank (USA) N.A. defendants investigative efforts being

unreasonable, improperly running a credit report

38. Plaintiff has attached Exhibit - S.E.C. Prospectus dated February 26,
2007 to February 28, 2007 issued by Capital One l\/lulti-asset Execution Trust
("COMET") issuing entity FORl\/l 424132 SEC Accession No.

000119312507041997/d424b2 .(See exhibit).

https;//\v\vw\sec.gov/Archivesi’edgai‘!data/‘)ZZ869/000 l 193 12507041997/d424b2.ht
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39. Capital One, Capital ()ne Funding, LLC and Capital
One Banl< is a subsidiary of another corporation, Which does not issue Plaintiff
account and does not seek collection on the account Capital One Banl< (USA)
N.A. and Capital One and [DOES] violates the Rosenthal and FDCPA Act as

Well as, and not limited to the FCRA.

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40. Plaintiff does not believe that he owe the alleged debt to Capital One
Bank (USA) l\l.A., moreover Plaintiff had no way of determining whether the
amount Capital One Bank (USA) N.A. [DOESl demanded was a fair and
accurate calculation of the Capital One Banl< (USA) N.A. ~Transunion- (l)
account # 517805924026**** 37,127 or Capital One »~Experian- (1)

account # 517805924026* *** iii7,260.

41. The defendant(s) has not proved or established that 1 am
the person who applied for or used this credit card. Defendant(s) at no time has
communicated with plaintiff what justification they may have had to obtain

Plaintiff (consumer) profile

42. ln response letters Capital C)ne Defendant(s) sent “informational purposes
only request” letters which fails to label “This is in an attempt to collect a debt”.
The l\/loore Law Group, Arnara liayden, Esq. threatening NOTICE OF
lNTEl\lTlO`N TO SUE AND lNCUR COURT COST (see exhibit CAOl) has
been demanded for the purposes of collecting a non~existence debt of the

plaintiff

43. Defendant(s) Capital One Bank (USA) N.A., Capital One, The l\/loore
Law G'roup, Harvey l\/l.l\/loore, Esq. SBN# 101128, Karel Raba SBN # 293570,

l\/latthew Garvey SBN it 306960, Amara Hayden SBN # 304452, Kelsey Kruger

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and DOES. Defendant(s) has asserted a right into action against Plaintiff which
they lack to wit. Defendants(s) has taken action that cannot legally be taken in
violation of section 1692e(5), which also constitute a “false representation” in

violation of section l692e(10).

44. Plaintiff discovery of violations brought forth herein occurred in
September 2016 and are within the statute oflimitations as defined in the

FCRA, 15 U.S.C. § l681p FDCPA 15 U.S.C. § 1692 k (d).

45. According to Congress, under the FDCPA, FCRA Act, Although it is
permissible for a debt collector to seek to collect on a time barred debt
voluntarily, it is prohibited from threatening litigation with respect to such a
debt. The defendant act(s) to under such circumstances can at best be described
as “misleading” representation, in violation of§ 1692 e. §l681b. §l681i, &

Rosenthal 1788.17 and 1788.30 et seq.

V. CAUSES OF ACTION
FIRST CAUSE OF ACTION
Violations of FDCPA 15 U.S.C. 1962 et.,seq.
(As against Defendant(s): Capital One Banl<(USA) N.A.,

Capital One, The l\/Ioore l,aw Group, l~l`arvey l\/l. Moore, Esq. SBN# 101 128,

 

 

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jase 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 14 of 55 Page |D #:14

Karel Raba SBN # 293570, l\/latthew Garvey SBN # 309960, Amara Hayden SBN
# 304452, Kelsey Krueger

46 Plaintitt`re-alleges and incorporates paragraphs 21-45. Defendants
violated the FDCPA. Defendants violations include, but are not limited to, the
following:

(a) T he Defendants violated 15 U.S.C. § 1692d by engaging in conduct
the natural consequence of which is to harass, oppress, and abuse persons in
connection with the collection of the alleged debt;

(b) The Defendant violated 15 U.S.C. § l692e(2) by misrepresenting the
legal status of the debt;

(c ) The Det`endant violated 15 U.S.C. § 1692e(10) by using a false
representation and deceptive means to collect or attempt to collect any debt or to
obtain information regarding a consumer;

(d) The Det`endant violated 15 U.S.C. § 1692 f by using unfair or
unconscionable means to collect or attempt to collect a debt;

(e) 'l`he Defendant violated 15 U.S.C. § l692f(1) by attempting to

collect an amount not permitted by law.
47. As a result of the above violations of the FDCPA, Defendants are liable
to the Plaintift` for Plaintifi`s actual damages, statutory damages, and court fees

and costs Pursuant to 15 U.S.C. § 16921§

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SECOND CAUSE OF ACTION

Violation ofFCRA 15 U.S.C. SEC. 1681 b
As against Defendant(s): Capital One Bank (USA) N.A.,
Capital One, The Moore Law Group
48. Plaintiff re-alleges and incorporates by reference all of the foregoing
paragraph
49. Defendant violated the FCRA, Defendant violation include, but are not
limited to, the following:

(a) The Defendant violated FCRA 15 U.S.C. § 1681b (f) by obtaining
Plaintift” s consumer report without a permissible purpose as defined by 15
U.S.C. § 1681b

(b) The Defendant is a furnisher of information within the meaning of
the FCRA 15 U.S.C. § 1681s-2(b)(1)(A)

( c ) by after receiving notice pursuant to § 1681i of dispute With regard
to the completeness or accuracy of any information provided by a person to a
consumer reporting agency, negligently failing to conduct an investigation with
respect to the disputed information

(d) Plaintiff re-alleges and incorporate by reference all foregoing

paragraphs Based on the foregoing consumer credit reports Defendant(s)

 

 

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willfully violated the FCRA 15 U.S.C. § 1681s~2(b)(c) by, after receiving notice
pursuant to § 1681i cfa dispute with regard to the completeness or accuracy of
any information provided by a person to a consumer reporting agency, failing to
direct such consumer reporting agencies to delete inaccurate information about

the Plaintiff pertaining to the account

50. Actions on the part of defendant demonstrates a willful disregard for
federal law and constitutes a blatant attempt to injure or ruin the credit rating of
plaintiff since defendant has demonstrated an inability to validate the alleged

debt and subsequently attempted coerce payment 15 U.S.C sec. 1681 .

51. As a result of the above violations of the FCRA, Defendants are liable

to the Plaintiff for Plaintiff’ s actual damages, statutory damages, and court fees
and costs .Pursuant to 15 U.S.C. § 15 U.S.C. §1681n (a) (3) and 15 U.S.C.

§iesi@(a).

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I.REQUEST F()R RELIEF

WHEREFORE, the Plaintiff requests: That this court grantjudgement

against defendant(s) each for first claim for relief
52.) Actual damages in the amount of $7,260.54 2.) Punitive & Statutory
damages 15 U.S.C. sec. 1692 d (1), 1692 e, 1692 f(6) 1692 g Remedies 1692 k,
$ 1,000 per defendant & Rosenthal Fair Debt Collection Practices Act, Cal
Civ. Code § 17”8830 (b) $1,000.00 per defendant 3.) cost
and reasonable fees pursuant to the Rosenthal Fair Debt Collection Practices Act,
Cal Civ. Code § 1788.30 (c) determined byjury. 4.) Any relief as this

Honorable Court see fit.

53.) That this court grants judgment against defendant(s) each for second claim
for relief 1.) Actual damages in the amount of$7,260.54 2.) Punitive and
Statutory damages in the amount of$ 8,000.00 FCRA 15 U.S.C. sec.l681b,
1681i, 1681s-2,1681 n & o 31000.00 per bureau per defendant 3.) court fees

and cost to be determined by jury 4.) Any relief as court see fit.

54.) Actual damages in the amount of $7,260.54 2.) Punitive & Statutory
damages 15 U.S.C. sec. 1692 d (1), 1692 e, 1692 f(6) 1692 g Remedies 1692 k,
$ 8,000 & Rosenthal Act § 1788.30 $1,000.00 per defendant 3.) legal cost

and fees determined by jury. 4.) Any relief as the court see fit.

 

 

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§ase 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 18 of 55 Page |D #:18

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DEMAND FOR JURY TRIAL
Plaintiff hereby demands a jury trial by jury on all issues so triable as a matter

of law.

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Print Name: 564/fo £/-»/14

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Capital One Bank (USA), N.A. By Naiasha Cllambers, Deput\/

 

 

NOTlCEl You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.

¥ou have 30 CALENDAR DAYS after this summons and legal papers are served on you to llle a written response al this court and have a copy
served on the plaintill. A letter or phone call will not protect you. Vour written response must be in proper legal form il you want the court to hear your
case. Thero may be a court form that you can use for your response You ¢ln l'md these court forms and more information at the Calilornla Courls
Onllne Sell-Help Cenler (www. courtinfo.ca.gov/selmelp). your county law libmry. or lhe courthouse nearest you. ll you cannot pay the filing lae. ask
the court clerk for a fee waiver form lf you do not ll|e your resource on time. you may lose the case by defauli. and your wages. money, and property
may be laken wlmoul further warning from the ooud.

There are other legal requirementsl ¥ou may want to call an attorney right away. lf you do not know an anomey. you may want to call an attorney
referral service. lf you cannot alford an allorney, you may be ellgible for free legal services from a nonprofit legal services program. ¥ou can locate
these nonprofit groups al he Calilomla Laga| Services Web site (www.lawhelpcalllomla.ory). the Califomla Courls Onllne Sell~l~lelp Center
(www.courtinlo.w.gov/sell'help), or by contacting your local court or county bar association NOTE: The court has a statutory lien for waived fees and
costs on any settlemenlor arbitration award of $10.000 or more in a civil case. The courts lien must be paid before the court will dismiss the caso.
;AWSOl Lo han demandadc. Si no responds dent/o de 30 dlas, la cone puede decldir en su contra sin escuchar su tersl'én. Lea la lnformacldn a
continuacion.

TTene 30 DIAS DE CALENDARlO después de que le enlreguen esta citacion y pape/es Iegales para pliesentar una respuesla per escrllo en esta
cone y hacer que se enllegue una copia al demandante. Una cane o una llamada telefonlca no lo prolegen. Su mspuesta por eson'lo tlene que estar
en formalo legal correcto si desea que procesen su case en la corte. Es posible que hays un formulario que usth pueda user para su respues!a.
Puede encontrar estos formulan'os de le cone y mas informacldn en el Centro de Ayuda de las Cbrtes de Califomia (www.sucorte.ca.gov), en la
blblioleca de le yes de su condado o en la cone que le quede mas cerca Si no puede pagar la cuola de presenlacion. pida al secretario de la cone
que le dé un formulan`o de exencio') de page de cuolas. Si no presenla w respuesta a dempo, puede perder el caso por incumplimierlo y la cone le
podra quitar su sueldo, dinero y bienes sin mas advenencla. " -

Hay otros requisites legales. Es recomendable que flame a un abogado lnmedlatamenle. Sl no conoco a un abogado, puede llamar a un servicio de.
remislon a abogados. Si no puede pagar a un abogado, es posible quo cumpla con los requisites para obtener servicios legabs gratuitos de un
programs de serviclos legales sin fines de lucro. Puede enconuar estes gmpos sin fines de lucro en el dtio web de Calilornla Legal Servlces,
Mww.laumelpcalilomla.org), an el Centro de Ayuda de las Oortes de Callfomla, Mww.sucoma.ca.gov) o ponléndose en contacts con"la code o el
colegio de abogados localos. AVlSO For ley. la corle tiene derecho a reclamarlas cuotas y los coslos exentos porlmponer un gravamen sobre
cualquler recuperaclon de $10, 000 d mas de valor reclbida medicare un acuerdoo una concession de arbitraje en un msa de derecho civll. Tlene qua
pager el gravamen de la oorte antes de que la code pueda desechar el caso.

The name and address of the court ls: case muscle
(Numen) del Casn): ga

(El ncmbre y direcclon de la cone es): L-A- COunfy - Chalswonh _ 44 1
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The name, address, and telephone number of plaintist attorney, or plaintiff without an attomey, is: 1
(El nombre, la direcclon y el numero de teléfono el abogado del demandante, o del demandante que no tiene abogado. es):
qu'vey M. Moore, Esq. (101128) Kare| Ra 93570) Matthcw Garvey (306960) Amara l-laydcn (304452) v

f b

 

'l`he Moore Law Group, A Prol`cssional Co lion d
l . ' 210 S ' A9 800-'06-26‘2 .
DATE: 37 0 S Susan'$crcet. Sune , ama PQ§& 2704 é|erk’ p)y trw ' Deputy
(Fecha) 'Q~*' (Secrelario) F\£§)" (Adjunlo)

 

(For proof of service of this summons, (se Proof of Servloe of Summons (form POS-OlO).} .)'
(Para pmeba de entrega de esla cit use el formulario Proof of Servlce of Summons, (POSM).
|CE TO THE PERSON SERVED‘. You are served ¢`¢'¢¢

t. as an indivldual defendant @‘

§ as the person sued under the fictitious name o specify):

3_ l:l on behalf of (spec/'fy).'

under. :l ccP 416.10 (corporanon) [:] ccP 416.60 (minor)
|::l CCP 416.20 (defunct corpomtlon) [:] -CCP 416.70 (conservatee)
§ CCP 416.40 (associalion or partnershlp) [:] CCP 416.90 (authorized person)

_ :l other (specily):
4- :l by personal delivery on (da!e):

 

 

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Page 20 of 55 Page |D #: 20

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Harvcy t\/|. Moore, Esq. tOliZS Karel Raba(293570) Matthew Garvey (306960)

Amara i'{ayden (304452) Tiic Moori: Law Group. A Prol`essional Corporation
3710 S. Susan Street, Suite Zl0, PO Box 25145 [92799], Santa Anzi1 CA 92704

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oEFENDAN'r: Benito Rojas

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CONTRACT

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Jurlsdlctlon (clieck all that apply):
§ Acnoi~i is A Lil\iineo civii_ cAsE
Amount demanded m does not exceed $10, 000
:] exceeds $10, 000 but does not exceed $25,000
l:] AcTioN is AN uni.iMiTEo civii. cAsE (exceeds szs,iioo)
[:] ACTlON iS RECLASS|F|ED by this amended complaint or cross-complaint

ij from limited id unlimited
ij from unlimited to limited

 

CASE NUMBER.

16A15474

 

 

 

1. Plaintiff' {name or names): Capital One Bank (USA), N‘A.

alleges causes of action against defendant‘ (name or names): B€mto ROJaS

2. This pleading, including attachments and exhibits, consiss of the following number of pages: 6

3. a. EaCh plaintiff named above i$ 'é i',>un'i;`.iéiéiii audit
- except plaintiff {name,". Capital On€ Bat’tk (USA), N A.
(1) [:]a corporation qualified to do business' in Califomia
(2) {:\an unincorporated entity (descn'be):
(3) [:}mher (specify): National Association

b. [:] Plaintiff (riame):

a. l:l has compled with the fictitious business name laws and is doing business under the fictitious name (specify):

b- l:l has complied with all licensing requirements as a licensed (specify):

c. ij information about additional plaintiffs who are not competent adults is shown in Attachment 3c.

4. a. Each defendant named above is a natural person
[:] except defendant (name):
(1) |:] a business organization form unknown
(2) [:\ a corporation
l3) ["__l an unincorporated entity (descn'be):

(4) |:] a public entity (descn'be):

(5) |:] other (specify):
‘ ll this form is used as a aoss-oemplaini. plaintiff means cross-cunoaimnt and ‘

realm id optional use . COMPLAiNT_Contract

Jiidiual Ceunci'l el Caiiltxnia
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[::l except defendant (name):
(1) [:] a business organization form unknown

(2) [:| a corporation
(3) |:] an unincorporated entity (descrlbe):

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(5) |:] other (specify):

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Case 2:16-CV-09045-AB-SS Document 1 Fé€d 12/06/?€££39€ 21 of 55 Page lD #:21

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4_ (Continued)
b. The true names of defendants sued as Does are unknown to plaintiff

{1) [:] Doe defendants (specify Doe numbers): were the agents or employees of the named
defendants and acted within the scope of that agency or employment

(2) l:] Doe defendants (specr`fy Doe numbers): are'persons whose capacities are unknown to
plaintiff.
c. [:] information about additional defendants who are not natural persons is contained in Artachment 4c.
d_ l:| Delendants who are joined under Code of Clvi| Procedure section 382 are (names):

5. [::] Plaintiff is required to compfy with a claims statute, and
a. |:l has compiled with applicable claims statutes. or
b. \:| is excused from complying because (specify):

6. l::] This action is subject to m Civil Code section 1812.10 l:l Civil Code section 2984.4.
7. This court is the proper court because
a. :| a defendant entered into the contract here.
b. :} a defendant lived here when the contract was entered lnto.
c_ [X] a defendant lives here now.,
d, l:] the contract was to be performed here.
e. [:] a defendant is a corporation or unincorporated association and its principal place of business is here.
f. m real property that is the subject of this action is located here.
g, |:] other (specify): t 1

8. The following causes of action are attached and the statements above apply to each (eech complaint must have one or
more causes of action atfached):

791 ~/»'WX~?

f:] Breach ofContract
ij Common Counts
m Other(specr`ly):

9.' [___! Other allegations:

10. Plaintiff prays for judgment for costs of suit; for such relief as is fair. just, and eduitab|e; and for

a. [§] damages of: $ 7260`54
b. [:l interest on the damages

(1) l:] according to proof

(2) {:| at the rate of (specify): percent per year from (date):
q |:l attorneys fees

(t)['_'] of: 5

(2)|:1 according to pmof.
d. other (specify).‘ Costof suit

11. :| The paragraphs of this pleading alleged on information and belief are as follows'(specify paragraph numbers):

Date: SEP 0 g 2016 _ _
lemd-RabavEsqrf-MMW'GH!'WYTES¢/ Amara Haydcn, Esq. , IM%

mae on Pi=uNr NAME) _ 4 (srcmruRr-: oF putmrrr%)n ).‘rTonNEvl
(lf you wish to verify this pleading, affix a veriNcation.)
pier rnev. Jm~ 1. mm _ COMPLAINT-Contract mo 1 or z

 

 

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Case 2:16-cV-09045-AB-SS Document 1 Fl|etélz/Oéjl€ U§Je 22 of 55 Page lD #:22

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SHORT TlTLE; Capital One Bank (USA), N.A. V. Benito Rojas , CASE NUMBER:

 

 

FIRST CAUSE OF ACT|ON-Common Counts

(numb€f)
ATTACHN|ENT TO Complalnt :] Cross-Complaint

(Use a separate cause of action form for each cause of action. )
CC~1. Plaintiff (name): Capital One Bank (USA), N.A.

alleges that defendant (name): Benito Rojas
became indebted to plaintiff :] other (name):

a. [:] within the last four years
(1) [:] on an open book account for money due.
(2) [:X] because an account was stated in writing by and between plaintiff and defendant in which it
was agreed that defendant was indebted to plaintiff.

b. within the last [:] two years four years
(1) E] for money had and received by defendant for the use and benefit of plaintiff
(2) m for work, labor. services and materials rendered at the speciat instance and request of defendant
and for which defendant promised to pay plaintiff
l:] the sum of $
[:I the reasonable value.
(3) m for goods. wares. and merchandise sold and delivered to defendant and for which defendant

promised to pay plaintiff
l::} the sum or s
[:] the reasonable value.
(4) for money lent by plaintiff to defendant at defendants request
(6) for money paid, laid out. and expended to or for defendant at defendants special instance and
request

(6) Other f$P€C"fY)-' This cause of action relates to the Capital One Bank (USA),
N.A. credit card having account number -

fmc 75-'?‘»7&?

 

X)Q(X)OQOCXXXX:`)ZS6
CC-2. $ 7260,54 ,which is the reasonable value, is due and unpaid despite plaintiffs denuand,
plus prejudgment interest [:] according to proof at the rate of 0% percent per year
from (date):
CC-B. :i Plaintiff is entitled to attorney fees by an agreement or a statute
:| of $
[:] according to proof.
CC-4» _- th€l’~ Cost of suit
Page
Pigl 1 051
Formm>mwd'o' Opwrw use CAUSE OF ACTlON-»-Common Counts ' °°°"°'C‘"“ww"°‘*°“mw'§r;,§_j§;f

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MC-025
SHORT TiTLE: ' CASE NuMBER;
Capital One Bank (USA), N.A. V. Benito Rojas
1. t ATrAcHMENr (Number): ________] Page l or 1
(T his Attachment may be used with any Judiciaf Counci/'form.) (Add pages as required)
2
3 l, Kelsey Krueger , declare:
4 . . . .
l. l am a legal clerk with The Moorc Law Group, APC, attorneys for Plaintiff Caprtal One
5 Bank (USA), N.A..
5 2. l make this Declaration for the purpose of complying with the Servicemen's Civil Relief
7 Act (SCRA).
8 3. l made inquiries and other efforts to determine whether Defendant, or Defcndants, were
entitled to the protection of the Servicemen’s Civil Relief Act; in particular, l caused an inquiry to
9 be made of the United States Department of Defensc Manpower Data Ccntcr as to whether any
defendant, in this action, was at the time of such inquiry a member of the Army, of the United
10 States, the United States Navy, the Marine Corps, the Coast Guard, the Air Force or an officer of
11 the Public Health Services.
12 4. l l was informed and believe, based on the response received from the United States
Departmcnt of Def`ense Manpower Data Center, that no defendant in this action is on “active
13 duty” military status, as such term is used in the Scrvicemen's Civil Rcliet`Act; a copy of the
14 Report of the Department of Defense Manpower Data Center is annexed to an made a part of this
Dcclaration and marked "Exhibit l" to it.
15 ~
I declare under penalty of perjury, under the laws of the State of California, that the
16 information contained herein is true and correct and that this declaration was executed on
17 September 9, 2016 in Santa Ana, Califomia.
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elsey ger
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26.
27 (lf the item that this Attachment concerns is made under penalty of perjury,- all statements in fhis.Attachment`are.-made under
penalty-ofpeij_ury.}
Form Appmved for Oplional Use- ATTACHMENT 4 Cal. Rules otCourt. rule 982

 

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23.

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name Srt ll number and addi’
_Harvey M. Moore, Esq. (101128) Karel Raba (293570) Matthcw GarvSey (306960) Amara Hay den (304452)
The Moorc Law Group, A Proi`essional Corporation
3710 S. Susan Street, Suitc 210 P. O. Box 25145 [92799], Sania Ana, CA 92704

TELEpHoNE No.; 800-506-2652
ATTORNEY FoR rivame): Plaintiff

FAX NO.Z

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Su erior Court of Caliiorrii

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SUPERIOR COURT OF CAL|FORN|A, COUNTY OF LOS Ang€l€$
‘ sTREET AooREss.9425 Peni`ieid Avenue
MA|L|NG ADDRESSChatSWOnh CA 913].1

ciTY AND ziP COOE: Chatsw°nh Co'-“`lh°“$€

BRANCH NAME:

SEP 1 9 2016

Sherri Fi. Carier, Executive OificerlCiark
By Natasha Chambers, Deputy

 

CAsE N_AME: Capitai One Bank (USA), N.A. v. Benito Rojas

 

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Comp|ex Case Designation

I:l Counter |:] Joinder

 

(Amount (Amount
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ltems 1-6 below must be completed (see instructions on page 2).

 

1. Check one box below for the case type that best describes this case:
Auto Tort Contract
Auto (22) Breach of contract/warranty (06)
Uninsured motorist (46) Ru|e 3.740 collections (09)
Other PllPD/WD (Persona| injurylPrcperty Other collections (09)
DamagelWrongful Death} Tort lnsurance Coverag¢ (18)
Asbestos (04) Other contract (37)
Producl liability (24) Raa] Property
i:: M¢di°al malpractice (45) [:] Eminent domain/inverse
l:l other i=i/PD/wo (23) condemnation (14)
Non-Pi/Pbrwb (oiheri ron :] WrOanui eviction (33)
Business tort/unfair business practice (07) |:] Other real property (26)
Civil rights (08) Un|awfui Detainer
Defamation (13) Commercia| (31)
Fraud (16) v Residential (32)
intellectual property (19) ij Drugs (38)
Professional negligence (25) Judiclai Review _
oiher non-Pi/PD/WD ron (35) Asset forfeiture (05)
oyment Petition re: arbitration award (11)
Wrongful termination (36) |:| Writ of mandate (02)
ij Other employment (15) ij other judicial review (39)

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~ Provisional|y Compiex Civil Litigation
iCa|. Ru|es of Court, rules 3.400-3.403)

Enforcement of Judgment

Mlsce|laneous Civil Comp|a|nt
i:i RICO (27)

Mlscel|aneous Civil Petlt|on

Antitrustl'|'rade regulation (03)
Construction defect (10)
Mass tort (40)

Securities litigation (28)
Environmentaifl'oxic tort (30)

insurance coverage claims arising from the
above listed provisionally complex case
types (41)

Enforcement of judgment (20)

Other complaint (not specified above) (42)

Partnership and corporate governance (21)
Other petition (not speciifed above) (43)

 

 

2. This case i:l is is not

factors requiring exceptional judicial management

a. |:] Large number of separately represented parties

b. |:l Extensive motion practice raising difficult or novel
issues that will be time-consuming to resolve

c. |:i Substantia| amount of documentary evidence

complex under rule 3.400 of the Ca|ifornia Ru|es of Court. if the case is complex, mark the

d. [:i Large number of witnesses

e. l:| Coordination with related actions pending in one or more courts
in other countiesl states, or countries or in a federal court

f. i:i Substantia| postjudgmentjudiciai supervision

c. i:i punitive

3. Remedies sought (check all that apply): a.- monetary b.[: nonmonetary; declaratory or injunctive relief
4_ Number of causes of action (speci`fy): ONE-

5. This case g is is not a class action suit.

6. if there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date:

SEP ll 9 ?iiiB
, . , / Amara Hayden,Esq.

(TYFE OR PR|NT NAME)

 

NOT|CE

in sanctions
' File this cover sheet in addition to any cover sheet required by local court rule

other parties to the action or proceeding
¢ Un|ess this is a collections case under rule

 

(S|GNATURE OF PART% ATTORNEY FOR PARTY]

n Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
under the Probate Code, Famiiy Code_ or Weifare and institutions Code). (Cal Ru|es of Court, rule 3 220. ) Faiiure to file may result

¢ if this case is complex under rule 3 400 et seq of the Caiifornia Ru|es of Court you must serve a copy of this cover sheet on all

3.740 or a complex case, this cover sheet will be used for statistical purposes on|‘y.. . 1 12
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Case 2

 

 

 

 

 

 

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Case 2

 

 

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ease 2:16-cv-09045-AB-ss Document 1 pagerledélz/oe/’fe’j?iaage 30 or 55 Page lD #:30

File Number: * .
Date issued: 11/09/201 5 _|.-T'(]n$l.h'\lon0
-Begin Credit Report-

Personal |nfO fm atio n You have been on our files since 12/01/2002
ssN= xxx-)<x-_ pate orairrh= 02/10/1960
Names Reported: BENno RoiAs sR
Addresses Reported:
Address Date Reported Address Date Reported
2376 w AvENuE 33, Los ANGELES, cA 90065»2120 09/11/2009 2838 w AvENuE 32 APT 6, Los ANGELES, cA 90065-2161 03/11./2005
Po Box 39525, Los ANGELES, cA 90039-0525 02/11/2009 3141 GARDF_N AvE, Los ANGELES, cA 90039-2312 01/11/2007
2842 w AvENuE 33, Los ANGELEs, cA 90065-2120 12/01/2002

Telephone Numbers Reported:
(323) 321-2656 (222) 321-2656 (323) 321-2676 (323) 276‘8561 (213)257-76014

Employment Data Reported:

Employer Name Date VeriHed Position
Dl\/lX AUTOSPACE 03/27/2013 OPERATOR

Account lnformation

Typically, creditors report any changes made to your account information monthly. This means that some accounts listed below may not reflect the most recent activity
until the creditor's next reporting. This information may include things such as balances, payments, dates, remarks, ratings, etc. The key(s) below are provided to help
you understand some of the account information that could be reported.

Rati,ng.l<_ey

Some creditors report the timeliness of your payments each month in relation to your agreement with them. The ratings in the key below describe the payments that

may be reported by your creditors. Any rating that is shaded indicates that it is considered adverse. Please note: Some but not all of these ratings may be present in
your credit report.

 

           

 

     

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Not Reportedl Unknown ` Current |30 days late! 1201+ days Collection 501 nt:ry iForeclosurei
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Additionally, some creditors may notate your account with comments each month. We refer to these creditor comments as "Remarks". The key below gives the
descriptions of the abbreviated remarks contained in your credit file. Any remark containing brackets ) < indicates that this remark is considered adverse.

 
 

CBC ACCOUNT CLOSED BY CONSUMER CBG CLOSED BY CREDIT GRANTOR CLO CLOSED §§
PAL PURCHASED BY ANOTHER LENDER )PRL< UNPA|D BALANCE CHARGED OFF TRF TRANSFERRED TO ANOTHER OFF|CE §
§\
Adverse Accounts ss
"tsl §§
,,, ' (9800 CENTRE PARKWAY, #1100, HOUSTON, TX 7703 34-351¢9) L\:
ace for co lection: 08/27/2014 Balance: w Pay Status: >ln Collection< \£"\
Responsibility; individual Account Date Updated: 015
Account Type: Open Accou OriginalAmount: 6
Loan Type: w Original Creditor: L

Past Due:
Remarks: )PLACED FOR COLl_F_CTlON<
Estimated month and year that this item will be removed: 07/2021

CAPlTAL ONE BANK USA NA #5 1 780 5 924026**** (Po Bo)< 30281, sALT LAKE cnY, uT 84130, (300) 955-7070)

Date Opened: 02/28/2007 Date Updated: 09/11/2015 Pay Status: >Account 120 Days Past Due Date<
Responsibility: individual Account Last Payment Made: 03/09/2015 Terms: $206 per month, paid Monthly
Account Type: Revolving Account >l\/laximum Delinquency of 120 days in 08/2015
Loan Type: CREDIT CARD

for $1,025 and in 09/2015 for $1,227<
Credit Limit: Credit limit of $6,500 from 055/2013 to 09/2015

Estimated month and that this item will be removed: 04 2022
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Amount Paid
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Balance

  

To dispute online go to: http://transunion.com/disputeonline

Case 2:16-CV-09045-AB-SS Document 1Pag§l|@,d@12/06/16 Page We |D #:31

ConsumerCredit Report for BEN|TO RO|AS SR File N Date lssued: 11/09/2015
310/2012 09/2012 08/2012 07[2012

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…*** (cSCL DSP TM MAC N8235-041v\, P 0 Box 14517, DES MOINES, lA 50306, Phone number nor
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Date Opened: 10/14/2011 Date Updated: 08/29/20114 Pay Status: Current; Paid or Paying as Agreed
Responsibility: \ndividual Account Payment Received: 350 Terms: Paid Monthly

Account Type: Revolving Account Last Payment Made:10/29/2012 Date Closed: 04/14/2014

Loan Type: CHARGE ACCOUNT Date Paid: 10/29/2012

High Ba|ance: High balance of $1,1¢38 from 05/2013 to 014/2014; $1,438 from 08/2014 to 08/2014
Credi[ Limit: Credit limit OF 2 500 from 0 201310 04 2014' 2 500 from 08 2014 10 08 2014
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Balance
Amount Paid
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Rating

Regular |nquiries

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Promotional,|nquiries

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CAP|TAL ONE NATL ASSOC (Po BO)< 30281, SALT LAKE clTY, UT 84130, (888) 810-4013) ' 3
Requested On:10/09/'2015,09/'10/2015, 08/11/2015 §:
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g
" CAP|TAL ONE BANK USA NA ( PO Box 30281, SALT LAKE ClTY, uT 84130, (800) 955-7070) q

Reque$fed On: 07/13/2015, 06/09/2015, 05/08/2015, 04/09/2015, 03/13/2015

Requested On:m_

 
   

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GE|CO (1 GElco PLz, WASH¢NGTON, DC 20076-0003, (773) 582-2886)
Requested On: 12/30/ 2014

Account Revievv inquiries

   

TRANSWORLD SYSTEMS |NC (507 PRUDENT|AL RD, HORSHAM, PA19044,(888)446-4733)
Requested On: 09/11/201 5

CAP|TAL ONE BANK USA NA ( PO Box 30281, SALT LA\<E C\TY, uT 84130, (800) 955-7070)
Requested On: 04/01/2015

-End of Credit Report-

Tn dicnutp nn|inp on fm httn://tran§nninn.r.nm /disnutennline 315

 

Case 2:16-CV-09045-AB-SS Document 1 Filed 12/06/16 Page 32 of 55 Page |D #:32

Date:lO/Zl/Z{)l(j
Name: Benito Rojas

Address: 28'?6 W. AVENUE 33
LOS A`NGELES, CA 90065

Creditor: CAPITAL ONE (USA) N.A.

Creditor Address: P.O. BOX 30281
SALT LAKE CITY, UT 84130

REF; Acct. # 5178()5924026

TO Whom it may concern:

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This is NOT a request for “verif`rcation” or proof of my mailing address, but a request for
VALIDATION made pursuant to the above named Title and Section. l respectfully
request that your offices provide me with competent evidence that l have any legal
obligation to pay you.

b " Please provide me'with the'»follewing:a ~»

What the money you say 1 owe is for;

Explain and show me how you calculate€l What you say l owe;
Provide me With copies of any papers that show l agreed to pay What you say I oWe;

Provide a verification or copy of any judgment if applicable;
lderxtify the original creditor;

Prove the Statute of Limitations has not expired on this account

Show me that you are licensed to collect in my state
Provide me With your license numbers and Registered Agent

l. Federal Fair Debt Collection Practices Act

 

Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 33 of 55 Page |D #:33

Please be advised that l am not requesting a “veriiication” that you have my mailing
address, l am requesting a “validation:” that is, competent evidence that l have some
contractual obligation to pay you.

You should also be aware that sending unsubstantiated demands for payment through the
United States Mai l System might constitute mail fraud under federal and state laW.

Your failure to satisfy this request Within the requirements of the Fair Debt Collection

Practices Act Will be construed as your absolute waiver of any and all claims against me,
and your tacit agreement to compensate me for costs and attorneys fees.

CREDITOR DISCL()SURE STATEMENT

Name and Address of Collector (assignee):

 

 

Name and Address ot`Debtor:

 

 

Account Number(s):

 

What are the terms of assignment for this account‘? You may attach a facsimile of any
records relating to such terms

 

 

l‘lave any insurance claims been made by any creditor been made by any creditor or
assignee regarding this account? Yes /no

elias the purported balance of this account been used in any tax deduction claim? Yes / no

Please list the particular products or services sold by the collector to the debtor and the
dollar amount of each:

 

 

Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 34 of 55 Page |D #:34

 

Upon failure or refusal of collector to validate this collection action, collector agrees to
Waive all claims against the debtor named herein and pay debtor for all costs and attorney
fees involved in defending this collection action

X
Authorized signature for Collector Date

 

Please return this completed form and attach all assignment or other transfer agreements that Would
establish your right to collect this debt Your claim cannot be considered ifany portion ofthis form is not
completed and returned with the required documents This is a request for validation made pursuant to the
Fair Debt Collection Practices Act. lfyou do not respond as required by this law, your claim will notice
considered and you may be liable for damages t`or continued collection efforts

Sincerely,

 

Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 35 of 55 Page |D #:35

Date:lO/Z l/ZOl 6

Name: Benito Rojas

Address: 2876 W. AVENUE 33
LOS ANGELES, CA 90065

Collection Agency: The l\/loore Law Group, APC

Creditor Address: 3710 S. SUSAN STREET

SANTA ANA, CA 92704
REF; Acct. # 5l7805924026
TO Whom it may concerns
This is NOT a request for “veritication” or proof of my mailing address, but a request for
`\/ALIDATION made pursuant to the above named Title and Section. l respectfully
request that your offices provide me with competent evidence that l have any legal

obligation to pay you.

Please provide me with the following

What the money you say l owe is for;

Explain and show me how you calculated What you say l owe;
Provide me with copies ot` any papers that show l agreed to pay what you say l owe;

Provide a verification or copy of any judgment if applicable;
identify the original creditor;

Prove the Statute ol`Limitations has not expired on this account

Show me that you are licensed to collect in my state
Provide me with your license numbers and Registered Agent

l. Federal Fair Debt Collection Practices Act

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Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 36 of 55 Page |D #:36

Please be advised that l am not requesting a “veritication” that you have my mailing
address, l am requesting a “validation:” that is, competent evidence that l have some
contractual obligation to pay you.

You should also be aware that sending unsubstantiated demands for payment through the
United States Mail System might constitute mail fraud under federal and state lavv.

Your failure to satisfy this request Within the requirements of the F air Debt Collection

Practices Act Will be construed as your absolute waiver of any and all claims against me,
and your tacit agreement to compensate me for costs and attorneys fees

CREDIT()R DISCLOSURE STATEl\/IENT

Name and Address of Collector (assignee):

 

 

Name and Address of Debtor:

 

 

Account Number(s):

 

What are the terms of assignment for this account? You may attach a facsimile of any
records relating to such terms

 

 

l~lave any insurance claims been made by any creditor been made by any creditor or
assignee regarding this account? Yes /no

Has the purported balance of this account been used in any tax deduction claim? Yes / no

Please list the particular products or services sold by the collector to the debtor and the
dollar amount of each:

 

 

Case 2:16-cV-09045-AB-SS Document 1 Filed 12/06/16 Page 37 of 55 Page |D #:37

 

Upon failure or refusal ot` collector to validate this collection action, collector agrees to
waive all claims against the debtor named herein and pay debtor for all costs and attorney
fees involved in defending this collection action.

X ,
Authorized signature for Collector Date

 

 

Please return this completed form and attach all assignment or other transfer agreements that would
establish your right to collect this debt. Your claim cannot be considered ifany portion ofthis form is not
completed and returned with the required documents This is a request for validation made pursuant to the
Fair Debt Collection Practices Act. lfyou do not respond as required by this law, your claim will not be
considered and you may be liable for damages t`or continued collection efforts

Sincerely,

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Harvey Moore, Esq. 0
Ray Mahdavi, Esq. 0
Angela Dawson, Esq. 0
Francella Wright, Esq. *
Nicole Rice, Esq. ¢
Bryant Burnstad7 Esq. 0

 

 

 

 

 

 

 

 

 

 

 

@ Califomia Offlce:
§ Oore 3710 s. susan sr., ste 210
P" santa Ana, cA 92704
Phone 714-431-2000
Law Group …

 

 

 

 

 

Karel Raba, Esq. o MWMS“£S wax ; NWQMNQ§ Colorado Oflice:
Amara Hayden, Esq. 0 1901 W. Littleton Blvd., Ste 214
Manhew carvey, Esq_ . Toll Free 1-800-506-2652 Lirrleron, CO 8012_0
]"/Iailin(r Address: PhOI!€ 303-586-6361
Clicensed in Califomia b FaX 720-278-7794
¢licensed in Colorado PO BOX 25145 New Mexico Off.lce§
*licensed in New Mexico Sallfa Alla, CA 92799-5145 p0 BOX 3767
Albuquerque, NM 87190-3767
Phone 505-903-5820
F`ax 505-903-5833
August 30, 2016

Benito Rojas
2876 W Avenue 33
Los Angeles CA 90065-2120

Re: Obligation owing to Capital One Bank (USA), N.A.
Account number XX)QQQOOQO(XX3286
Balance Owing $7,260.54

NOTICE OF INTENTION TO SUE AND INCUR COURT COSTS

lt is our office’s intention to file a lawsuit to collect the balance owing on the above referenced account.
In addition to seeking a judgment for principal, we Will ask the court to award allowable court costs (the actual

cost of the filing fee and the actual cost of service of process).

Wc encourage you to contact us to discuss payment arrangements or available Settlement options.
TOLL FREE NUl\/IBER lS (800) 506-2652. We look forward to hearing from you.

The Moore Law Group,

d/&k
Amara Hayden, .
~l\¢lajthemGaFvey-,-Esq,_

This communication is from a debt collector in an attempt to collect a debt. Any information obtained

Will be used for that purpose.
788818768

 

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Harvey Moore, Esq. 0
Ray Mahdavi, Esq. 0
Angela Dawson, Esq. 0
Francella Wright, Esq. *
Nicole Rice, Esq. ¢
Bryant Bumstad, Esq.¢
Karel Raba, Esq. 0
Arnara Hayden, Esq. 0

 

 

 

 

 

 

 

 

 

 

 

Q California Offlce:
.= Oore 3710 s. susan sr., ste 210
E'* santa Ana, CA 92704
Phone 714_431-2000
Law Group WWM
§§ §§*‘ai::ac iiwraraf:za Colorado Offlce:
1901 w. Litrleron Blvd., ste 214

 

 

   

 

Marrhew Garvey, Esq. o Toll Free 1-800-506-2652 Lircle:on, Co 801_20
thc nsed in Califomia FaX 720'278'7794
c Po Box 25145

qflicensed in Colorado New Mexico Offlce;

*licensed in New Mexico Sa!lta Alla, CA 92799-5145 PO BOX 3767 7
Albuquerque, NM 37190-3767
PhOn€ 505-903-5820
FaX 505-903-5833

November 2, 2016

Benito Rojas
2876 W Avenue 33
Los Angeles CA 90065-2120

Re: Obligation owing to Capital One Bank (USA), N.A.
Account number XXXXXXXXXXXX3286
Current Balance Owing $7,260.54

Dear Benito Rojas,

We are writing in response to a debt validation request we received concerning the above referenced
account

ln response thereto, We are sending copies of billing statements and any other relevant documentation to
serve as validation of the debt.

lf you have any questions, please contact our office at (800) 506-2652 between 8:00am and 5:00pm
PST.

The Moore Law Group,

YVlM/tlhwj .UM“D/

Matthew Garvey, Esq.

This communication is from a debt collector in an attempt to collect a debt. Any information obtained Will be used
for that purpose. `

788818768

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Case 2:16-cV-09045-AB-SS Document 1 Fi¢l§:§dx,l}_/g€§/zl§:§§gge 43 of 55 Page |D #:43

 

  

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Pag e l of 4
Customer Service 1-800-462-0114
www.capitalone.com

 

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Case 2:16--cv--09045 AB- SS Document 1 Filed 12/96/16 Page 48 of 55 Page lD #: 48

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Servicio al C!iente

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Case 2:16--cv--09045 AB- SS Document 1 Fl|eql(lz;/§>G/l€ Page 50 of 55 Page lD #:50
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Customer Servlce 1-800-462-0114 [
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Case 2:16-cv-09045-AB-SS Document 1 Filed 12/06/16 Page 55 of 55 Page |D #:55

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Ray Mahdavi. Esq. 0
Angcla Davvson, lisq. 0
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3710 S. Susan Sti. Ste 210
Santa Ana, CA 92704
Phone 7l4-43 l~?i)(l()

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July 6, little
Benito Ro_ias
2876 W Avenue 33
Los Angeles CA 90065~2120

Re: Obligation owing to Capital One Banl\' (USA), N.A.
Account number XXXXXXXXXXXXSZ%
Balance UWing $7,260.54

"l"his is to notify you that Capital One Banl< (USA), N.A. has retained this finn to collect its claim against you for
the balance owing on your account. Betoi‘e We take any further action, we Want to provide you With an opportunity to
resolve the account

Unless you notify us of a dispute regarding the validity of the debt, or any portion thereof within 30 days after
receiving this letter, we will assume that the debt is valid. lt you notify us in Writing Within 30 days from receiving this
letter that the debt or any portion thereof is disputed, we Will obtain verification ot`the debt or a copy of ajudgrnent
against you, ii` any, and Wi ll mail to you a copy oij` such verification or judgment We will also, upon your request in
Writing within the 30 day period mail to you the name and address ot` the original credit grantor, if different than the
current creditor‘

The state Rosenthal Fair Debt Collection Practices Act and the federal F air Debt Collection Practices Act require
that, except under unusual circumstances collectors may not contact you before 8 a.rn. or after 9 p.rnt They may not
harass you by using threats ot`violence"or arrest or by using obscene language Collectors may not use false or misleading
statements or call you at Worl< if they know or have reason to know that you may not receive personal calls at Work. For
the most part, collectors may not tell another person, other than your attorney or spouse, about your debt. Collectors may
contact another person to confirm your location or enforce ajudginent. For more information about debt collection
activities you may contact the Federal Trade Cornmission at l-S77-FTC-HELP or wa.t`tc.gov.

ll you Wish to discuss your account, please feel free to contact us at (800) 506-2651

The Moore Lavv Group,

 

Amara Hayden, Esq.
This communication is from a debt collector in an attempt to collect a debt Any information obtained will be used
for that purpose.
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